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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UT AH


JOHN CARRELL,                                                ORDER

                 Plaintiff,                                  Case No. 2:18-CV-654 TC

v.                                                           District Judge Tena Campbell

OFFICER JORDAN KEARL et al.

                 Defendants.


        Plaintiff/inmate, John Carrell, submits a pro se civil rights case. 1 Plaintiff applies to

proceed without prepaying the filing fee. 2 Plaintiff also moves for appointed counsel.

        First, as to the in forma pauperis application, Plaintiff has not as required by statute filed

"a certified copy of the trust fund account statement (or institutional equivalent) for the prisoner

for the 6-month period immediately preceding the filing of the complaint ... obtained from the

appropriate official of each prison at which the prisoner is or was confined. "3 Still, the Court

grants Plaintiffs informa pauperis application, pending receipt of Plaintiffs account statement.

        Second, the Court considers Plaintiffs motion for appointed counsel. Plaintiff has no

constitutional right to counsel. 4 The Court may, however, in its qiscretion appoint counsel for




        1
         See 42 U.S.C.S. § 1983 (2018).
        2
         See 28 id. § 1915.
        3
         See id. § 1915(a)(2) (emphasis added).

        4
          See Carper v. Deland, 54 F.3d 613, 616 (10th Cir. 1995); Bee v. Utah State Prison, 823 F.2d 397, 399
(10th Cir. 1987).
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indigent inmates. 5 The applicant has the burden of showing that his/her claim has enough merit

to justify the Court in appointing counsel. 6

        When deciding whether to appoint counsel, the Court studies a variety of factors,

"including 'the merits of the litigant's claims, the nature of the factual issues raised in the claims,

the litigant's ability to present his claims, and the complexity of the legal issues raised by the

claims." 17 Considering these factors, the Court concludes that (1) it is unclear at this time that

Plaintiff has asserted a colorable claim; (2) the issues here are not complex; and (3) Plaintiff is

not incapacitated or unable to adequately function in pursuing this matter. Thus, the Court denies

for now Plaintiffs motion for appointed counsel.

        IT IS HEREBY ORDERED that:

        (1) Plaintiffs application to proceed without prepaying the filing fee is granted. So that

the Court may figure Plaintiffs initial partial filing fee, Plaintiff shall have thirty days from the

date of this Order to file with the Court a certified copy of Plaintiffs inmate trust fund account

statement(s). If Plaintiff was held at more than one institution during the past six months,

Plaintiff shall file certified trust fund account statements (or institutional equivalent) from the

appropriate official at each institution. The trust fund account statement(s) must show deposits

and average balances for each month. If Plaintiff does not fully comply, this complaint will be

dismissed.



        5
          See 28 U.S.C.S. § 1915(e)(l) (2018); Carper, 54 F.3d at 617; Williams v. Meese, 926 F.2d 994, 996 (10th
Cir. 1991).
        6
         McCarthyv. Weinberg, 753 F.2d 836, 838 (10th Cir. 1985).
        7
          Rucks v. Boergermann, 57 F.3d 978, 979 (10th Cir. 1995) (citation omitted); accord McCarthy, 753 F.2d
at 838-39.

                                                        2
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       (2) Plaintiffs request for appointed counsel is denied; however, if, after the case is

screened, it appears that counsel may be needed or of specific help, the Court may ask an

attorney to appear pro bona on Plaintiffs behalf.

               DATED this   Z7~ay of August, 2018.




                              CHIEF MAGISTRATE JUDGE PAUL M. WARNER
                              United States Magistrate Court




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